Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 1 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 2 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 3 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 4 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 5 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 6 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 7 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 8 of 9
Case 15-22110   Doc 1   Filed 06/26/15   Entered 06/26/15 13:25:47   Desc Main
                           Document      Page 9 of 9
